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                          7 Attorneys for Defendant, Counter-Complainant, and Cross-Complainant
                          8 HALLIBURTON AFFILIATES, LLC
                          9
                       10
                                                     UNITED STATES DISTRICT COURT
                       11
                                               CENTRAL DISTRICT COURT OF CALIFORNIA
                       12
                       13
                       14 ARCONIC INC., et al.,                                 Case No. 2:14-cv-06456 GW (Ex.)
                       15                                                       PARTIES’ STIPULATION TO
                                               Plaintiffs,
                                                                                CONTINUE THE MSJ
                       16           v.
                                                                                HEARING DATE FOR
                       17 APC INVESTMENT CO., et al.,                           PATSOURAS AND PMC
                                                                                PROPERTIES TO MAY 26,
                       18                                                       2022 (FROM MAY 16, 2022)
                                                 Defendants.
                       19                                                       AND [PROPOSED] ORDER
                       20
                       21 AND RELATED CROSS ACTIONS,
                       22
                               COUNTERCLAIMS AND THIRD-PARTY
                               COMPLAINTS
                       23
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WACTOR & WICK LLP
3640 Grand Avenue, Suite 200                                           -1-
     Oakland, CA 94610
                                         STIPULATION AND [PROPOSED] ORDER TO CONTINUE PATSOURAS
                                         PROPERTY/PMC MSJ HEARING TO MAY 26, 2022 (FROM MAY 16, 2022)
               Case 2:14-cv-06456-GW-E Document 1017 Filed 02/10/22 Page 2 of 4 Page ID #:32783



                          1        I.      Background
                          2        Hearings on the MSJs filed which relate to the Patsouras Property and PMC
                          3 Property have been set for May 16, 2022, with Supplemental Briefs due on May 2,
                          4 2022. [Dkt. 1012, 1013.]
                          5        William Wick (counsel for Halliburton Affiliates, LLC, one of the Patsouras
                          6 Property Defendants) scheduled and paid for an east coast vacation that includes the
                          7 May 16 hearing date and extends to May 22. However, he had not calendared the
                          8 vacation and did not notice the conflict when May 16 was proposed.
                          9        After his recollection about the vacation was refreshed by his wife, Mr. Wick
                       10 contacted counsel for Plaintiffs, the other Patsouras Property Defendants, and the
                       11 PMC Defendants, to ascertain their availability and willingness to appear at the
                       12 hearing on May 26 and, as a second option (if the Court were unavailable on May
                       13 26), May 23. All counsel indicated their availability and their willingness to
                       14 stipulate to move the May 16 hearing to May 26, or if the Court is unable to
                       15 accommodate the hearing on May 26, to May 23.
                       16          All counsel agree that the Supplemental Brief due date of May 2, 2022,
                       17 should remain unchanged.
                       18
                       19          II.     Stipulation
                       20          Plaintiffs, the Patsouras Property Defendants (Halliburton Affiliates, LLC;
                       21 Intervenors Fireman’s Fund Insurance Company and Federal Insurance Company,
                       22 as insurers of Palley Supply Company; and Kekropia, Inc.), and the PMC Property
                       23 Defendants (PMC Specialties Group, Inc. and Ferro Corporation) stipulate to move
                       24 the May 16, 2022, MSJ hearing to May 26, 2022 (or to May 23, 2022, if the Court is
                       25 unavailable on May 26).
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WACTOR & WICK LLP
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     Oakland, CA 94610
                                         STIPULATION AND [PROPOSED] ORDER TO CONTINUE PATSOURAS
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               Case 2:14-cv-06456-GW-E Document 1017 Filed 02/10/22 Page 3 of 4 Page ID #:32784



                          1 DATED: February 10, 2022                 LATHROP GPM LLP
                          2
                          3
                                                              By:           /s/ Nancy Sher Cohen
                          4                                          Nancy Sher Cohen
                          5                                          Attorneys for Plaintiffs Arconic Inc., et al.
                          6
                          7 DATED: February 10, 2022                WACTOR & WICK, LLP

                          8
                          9                                 By:           /s/ William D. Wick

                       10                                           William D. Wick

                       11                                           Attorneys for Defendant Halliburton
                                                                    Affiliates, LLC
                       12
                       13 DATED: February 10, 2022                BASSI EDLIN HUIE & BLUM LLP
                       14
                       15                                   By:           /s/ Farheena A. Habib
                       16                                         Farheena A. Habib
                       17                                         Attorneys for Interveners Fireman’s Fund
                       18                                         Insurance Company and Federal Insurance
                                                                  Company as Insurers for Palley Supply Co
                       19
                       20 DATED: February 10, 2022                  OTTEN LAW, PC
                       21
                                                            By:           /s/ Victor Otten
                       22                                           Victor Otten
                       23                                           Attorneys for Defendant Kekropia, Inc.
                       24
                       25
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WACTOR & WICK LLP
3640 Grand Avenue, Suite 200                                       -3-
     Oakland, CA 94610
                                     STIPULATION AND [PROPOSED] ORDER TO CONTINUE PATSOURAS
                                     PROPERTY/PMC MSJ HEARING TO MAY 26, 2022 (FROM MAY 16, 2022)
               Case 2:14-cv-06456-GW-E Document 1017 Filed 02/10/22 Page 4 of 4 Page ID #:32785



                          1 DATED: February 10, 2022                  BASSI EDLIN HUIE & BLUM LLP
                          2
                          3                                     By:          /s/ Earl L Hagstrom
                          4                                           Earl L. Hagstrom
                          5
                                                                      Daniel E. Trowbridge
                                                                      Attorneys for Defendants PMC Specialties
                          6                                           Group, Inc. and Ferro Corporation
                          7
                          8
                          9
                       10
                       11
                                   CERTIFICATION OF CONCURRENCE FROM ALL SIGNATORIES
                       12
                                     I, William D. Wick, am the ECF user whose ID and password are being used
                       13
                               to file this Parties’ Stipulation to Continue the May 16, 2022 MSJ Hearing Date to
                       14
                               May 26, 2022. In compliance with C.D. Cal. Civ. L.R. 5-4.3.4(a)(2)(i), I hereby
                       15
                               attest that I have obtained the concurrence of each signatory to this document.
                       16
                       17
                                                                                      /s/ William D. Wick
                       18                                                               William D. Wick
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WACTOR & WICK LLP
3640 Grand Avenue, Suite 200                                           -4-
     Oakland, CA 94610
                                         STIPULATION AND [PROPOSED] ORDER TO CONTINUE PATSOURAS
                                         PROPERTY/PMC MSJ HEARING TO MAY 26, 2022 (FROM MAY 16, 2022)
